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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  WEST PALM BEACH DIVISION
  -------------------------------------------------------- x
  DONALD J. TRUMP,

                            Plaintiff,

                  - against -                                    SPECIAL MASTER ORDER
                                                                 No. 22-81294-CIV-CANNON
  UNITED STATES OF AMERICA,

                            Defendant.

  -------------------------------------------------------- x
  RAYMOND J. DEARIE, Special Master

           The Special Master is in receipt of the parties’ joint Log of Disputes for Filter Materials

  (“Filter Log”), ECF 136-2, and accompanying Cover Letter, ECF 136-1, both filed under seal. In

  light of the information included in the Filter Log and the Cover Letter, the undersigned

  respectfully directs the parties as follows.

      I.       Filter A and C Materials

           Plaintiff is not raising an assertion of attorney-client privilege or attorney work product

  doctrine for the following Bates-numbered documents:

           •   FILTER-A-001 through A-005;
           •   A-017 through A-022;
           •   A-025-A-026;
           •   A-029-A-030;
           •   A-033;
           •   A-036 through A040;
           •   A-043 through A052;
           •   A-053 through A-055; and
           •   A-056-through A-058.

           See Cover Letter at 3-4. The Special Master has reviewed the Filter Log and has

  confirmed that Plaintiff is not asserting attorney-client privilege or attorney work product

  doctrine for the above-listed documents. Pursuant to the parties’ agreement, the Privilege Review
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  Team is directed to furnish the above-listed documents to the Case Team on or before October

  10, 2022. Following the Case Team’s receipt of the above-listed documents, the Case Team and

  Plaintiff are to confer and attempt to resolve or narrow the disputes regarding claims of executive

  privilege and designations pursuant to the Presidential Records Act. On or before October 20,

  2022, 1 the parties shall submit to the Special Master an updated log containing any remaining

  disputes regarding the above-listed documents.

            As to the remaining Filter A and C Materials, the undersigned will endeavor to promptly

  issue a report making recommendations regarding Plaintiff’s assertions of attorney-client

  privilege and/or attorney work product doctrine, which will be submitted to the Court for review

  in accordance with the Order Appointing Special Master, ECF 91.

      II.      Filter B Materials

            The parties jointly recommend that the Special Master not resolve disputes concerning

  the Filter B Materials, with one exception discussed below. See Cover Letter at 2. The parties

  also agree that the original Filter B Materials should be returned to Plaintiff. Id. Accordingly, the

  Court directs the Privilege Review Team to release the original Filter B Materials to Plaintiff by

  October 10, 2022.

            The parties disagree “whether the Special Master should make a privilege determination

  with respect to” the document bearing the Bates stamp B-076, a letter in the Privilege B

  Materials. Cover Letter at 2. Plaintiff has made no assertion of privilege as to B-076 and the

  parties agree that the document is not privileged. See Filter Log at 13. In the absence of any

  disagreement, there is no designation dispute for the undersigned to adjudicate. See Order




  1
    See Order Accepting in Part and Rejecting in Part Amended Case Management Plan, ECF 125,
  at 4 (providing 10-day window for parties to meet and confer regarding disputed designations).
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  Appointing Special Master, ECF 91, ¶ 5.b.iv (ordering Special Master to issue a report and

  recommendation only as to those documents for which the parties disagree). The Privilege

  Review Team shall promptly return the original copy of document B-076 to Plaintiff along with

  the other Filter B Materials.

          Finally, seeing no reason to insert the Special Master or the Court into the chain of

  custody, the Privilege Review Team is directed to maintain a control copy of the Filter B

  Materials, as it has throughout this litigation.

                                                     ***

          The next status conference before the undersigned is scheduled for October 18, 2022, at

  12:00pm, by telephone, with dial-in information to be provided at a later date.


  Dated: Brooklyn, New York                                     /s/ Raymond J. Dearie
         October 7, 2022                                        RAYMOND J. DEARIE
                                                                United States District Judge
